                  Case 6:17-cv-00448-MC       Document 59               Filed 11/16/18   Page 1 of 7




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                                   UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                                     Portland


  JENNIFER JOY FREYD,                                                               CV.6:17-ev-448-MC

                                          Plaintiff,
                                                                 DECLARATION OF NICHOLAS B.
             v.                                                  ALLEN IN SUPPORT OF
                                                                 DEFENDANTS UNIVERSITY OF
  UNIVERSITY OF OREGON, MICHAEL H.                               OREGON AND SADOFSKY'S
  SCHILL and HAL SADOFSKY,                                       MOTION FOR SUMMARY
                                                                 JUDGMENT
                                       Defendants.



             I, Nicholas B. Allen, declare as follows:

             1.      I am the Ann Swindells Professor of Clinical Psychology with an academic

  appointment in the Department of Psychology, current Director of Clinical Training, and Director

  for the Center of Digital Mental Health at the University of Oregon.

             2.      I am making this declaration at the request of the Office of the General Counsel of

  the University of Oregon. Dr. Jennifer Freyd is a valued colleague, and I strongly support the

  University adopting policies and procedures that support and enhance gender equity in all areas of

  academic life. I am not in a position to have an informed view of my colleague's specific litigation,


    Page 1 — DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS
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              Case 6:17-cv-00448-MC       Document 59               Filed 11/16/18   Page 2 of 7




   but I understand that it may be beneficial to the court to have information about the nature, extent

   and scope of my day to day duties, responsibilities and accountabilities.

             3.   My current research interests are in the fields of Adolescent Development and

   Mental Health, Mood Disorders, Sleep, Developmental Social and Affective Neuroscience, Family

  Processes, Digital Mental Health, Assessment and Intervention, and Prevention Research. Those

  research interests may be generally described as follows: throughout the lifespan there are certain

  developmental transitions that appear to be particularly important for determining a person's

   mental health. The transition from childhood to adolescence is especially important, as many

  serious mental health problems, such as depression and substance abuse, emerge for the first time

  during or after this transition. In my research group, we use a developmental psychopathology

  approach to understand how children and adolescents are affected by the environments in which

  they grow up. We have especially focused on how family interactions and other aspects of the

  child's environment that have been shown to increase risk for mental health problems (e.g., stress,

  abuse, socio-economic disadvantage) influence the child or adolescent's emotional functioning

  and the development of the biological systems that undergird these emotions. The aim ofthis work

  is to not only shed light on the underlying causes of mental health and ill-health during these stages

  of life, but also to inform developmentally targeted approaches to prevention and early

  intervention, including studies focusing on sleep, parenting, and teen sexual and romantic

  relationships as modifiable risk factors for poor mental health. Through the Center for Digital

  Mental Health our work focuses on using mobile and wearable devices, and social media, to

  unobtrusively track and analyze behavior in order to detect mental health needs and provide

  adaptive, personalized interventions exactly when users need them.

             4.   My professional background is more fully described in the curriculum vitae

  attached hereto as Exhibit A.




    Page 2 — DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS
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                 Case 6:17-cv-00448-MC       Document 59              Filed 11/16/18   Page 3 of 7




            5.      I joined the University of Oregon in 2014 from the University of Melbourne,

   Australia as an invited applicant. At that time, I was a full Professor at that institution and had a

   significant amount of grant supported research and was able to move some of that work with me

   to the University of Oregon. Although the funding for this work could not be transferred

   internationally, I was able to continue to manage projects from the University of Oregon, and to

   offer my students and collaborators at Oregon the opportunity to participate in this work. I am

   active in seeking grant funding and have been the PI or primary investigator on a large federal

   grant from the National Institute of Health as well as a co-PI on two others. I have recently been

   advised that I will be awarded another large NIH grant on which I am the primary investigator. I

   also have responsibilities for a grant from the Gates Foundation and the National Science

   Foundation. I have been engaged in preparing submissions for grants since I joined the University

  and have submitted funding proposals for an average ofthree or four major grants each year. Grant

  submissions require the preparation of complex and detailed documents and these submission

  documents can be as large as 500 pages. I often have taken overall responsibility for the

   preparation of those submissions.

            6.      In terms of the specific research grants I hold, I have obtained or participated in

  obtaining funding for a 2018-22 research project on Mobile Assessment for the Prediction of

  Suicide, a grant in excess of $3 million from the National Institute of Child Health and

  Development for a study of Depressed Mothers' Parenting (which began in 2015 and will run to

  2020), a $2.7 million grant from the National Institute of Mental Health, on which I work as Co-

  Investigator with my University colleague, Jennifer Pfeifer, doing work on a longitudinal

  neuroimaging study related to early adolescent mental health. The grant from the Bill and Melinda

  Gates Foundation, on which I am Co-Investigator, is an award of $3.5 million to develop and test

  a learning intervention with a goal of promoting positive gender norm transformative social

  emotional learning in early adolescents. I have successfully completed a number of grant-funded


    Page 3 — DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS
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              Case 6:17-cv-00448-MC       Document 59               Filed 11/16/18   Page 4 of 7




  projects and have developed the skills and experience to work successfully on large funded

  research projects.

             7.   Grant administration responsibilities are complex, time consuming, and an

  important part of doing funded research. The PI on an NIH grant, for example, is responsible to

  ensure that the funded research is performed including the management of the students and

  researchers to make sure that milestones are met. In the case of the NIH grant mentioned above,

  I am also responsible for preparation and submission of an annual progress report on which the

  next year's funding is contingent. I also have the responsibility to manage the budgets, manage

  the ethical aspects of the research in accordance with federal requirements, drive the scientific

  process, and do media and other communications. Those responsibilities are tied to all the large

  federal grants, which means that I have those same responsibilities for several other grants and

  funding agencies. The PI responsibility with grants of this type is significant and a very big part

  of my work.

             8.   Amongst a wide range of administrative positions, I currently chair the Faculty

  Advisory Committee for the Lewis Center for Neuroimaging, a role I have filled since 2015.

             9.   The type of research I am doing is differentiated from other kinds of research that

  may be conducted by other methods such as questionnaires. It involves recruiting participants

  from the community and techniques that present unique ethical responsibilities because I work

  with brain imaging, requiring the subjects to consent to a brain scanner. The scanning process

  must be properly conducted and there are ethical considerations for those circumstances when the

  scanning process identifies brain abnormalities and determining what duty of care the researchers

  have. At times my staff has contacted me because of concerns that a subject is actively suicidal.

  Additionally, the work requires that we collect biological samples. The use of scanning and

  imaging technology requires oversight over the process and the technological staff.




    Page 4 — DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS
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               Case 6:17-cv-00448-MC        Document 59               Filed 11/16/18   Page 5 of 7




             10.   I am the Director of the Center for Digital Mental Health, which uses new

   technology to develop mental health treatments. I developed the vision and initiated the process

   to set up the center, lobbied for it, gathered broad support for it within the University and was the

  founder or creator of it. I spent time building partnerships with people outside the University such

   as in technology companies,some of whom are actual or potential funding resources. That requires

   a different kind of fundraising from the kind of grant submissions I also do and is closer to seeking

   philanthropic funding. I have developed relationships with a foundation created by Melinda Gates,

  separate from the Bill & Melinda Gates Foundation, and I have consulted extensively in an effort

  to seek funding, and I work with external organizations which deliver mental health interventions.

             11.   At the beginning of 2017-18 academic year I accepted the responsibilities of the

  Director of Clinical Training and expect to hold that position for another two years. My

  predecessor in the position was Dr. Phil Fisher and he succeeded Dr. Gordon Hall in that position.

   At present, and from the time I accepted this position, the Department is going through a re-

  accreditation process with the American Psychological Association. This is a very burdensome

  process and I have had the lead responsibility for the work. An initial responsibility for the re-

  accreditation process is the preparation of a self-study document that details the program's

  activities and reports a wide variety of data, such as (for example) the results of alumni surveys,

  and procedures and processes for contingencies (such as academic misconduct, student

  misconduct, and student performance). This phase will be followed by a site visit by a team of

  clinical psychology professors from other universities who will interview faculty and students and

  visit practicum sites and provide input or follow-up requirements as part of the re-accreditation

  process. In this first year, I estimate having spent hundreds of hours in preliminary work, including

  the self-study preparation, collection of data, and internal and external meetings related

  specifically to the accreditation requirements. The accreditation process is not the only aspect of

  being the Director of Clinical Training. The position requires regular work with students on their


    Page 5 — DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS
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              Case 6:17-cv-00448-MC         Document 59              Filed 11/16/18   Page 6 of 7




  clinical work, evaluating the strategic direction of courses, ensuring that the students are and

  remain in good standing and are proceeding properly and remain on track through the clinical

  training.     The position also requires consideration of student policies and, at times, discussion

  with the administration about student tuition policies such as occurred in my first year as Director

  when I addressed issues related to seeking exemptions for student tuition payments during their

  practicum.



             I hereby declare under penalty of perjury that the foregoing is true and correct.


             Executed, on                  ,2018.




                                                      Nicholas B. Allen




    Page 6 — DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS
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                  Case 6:17-cv-00448-MC       Document 59               Filed 11/16/18     Page 7 of 7




                                      CERTIFICATE OF SERVICE

             I hereby certify that on the 16th day of November, 2018, I served the foregoing

   DECLARATION OF NICHOLAS B. ALLEN IN SUPPORT OF DEFENDANTS

   UNIVERSITY OF OREGON AND SADOFSKY'S MOTION FOR SUMMARY

   JUDGMENT on the following parties at the following addresses:

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  by the following indicated method or methods set forth below:

             El      Electronic Filing using the Court's ECF System

             O       First-class mail, postage prepaid

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             O       Overnight courier, delivery prepaid

             O       E-mail


                                                         s/Paula A. Barran

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                                                               Shayda Zaerpoor Le


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